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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION

UNITED STATES OF AMERICA,                                     §
                                                              §
v.                                                            §                Case Number: 3:20-CR-00185-E(12)
                                                              §
RAE ANN GILLINGHAM,                                           §
                                                              §
         Defendant.                                           §

                     ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent
of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,
and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the
undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and RAE
ANN GILLINGHAM is hereby adjudged guilty of 21 U.S.C. §§ 841(a)(1), (b)(1)(B); 18 U.S.C. § 2 Possession with Intent
to Distribute a Controlled Substance; Aiding and Abetting. Sentence will be imposed in accordance with the Court's
scheduling order.

☒       The defendant is ordered to remain in custody.
☐       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the
        defendant is not likely to flee or pose a danger to any other person or the community if released and should therefore
        be released under § 3142(b) or (c).
☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions
        of release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a
        danger to any other person or the community if released under § 3142(b) or (c).
☐       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the
        United States Marshal no later than ___________________________.
☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        ☐      There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        ☐      The Government has recommended that no sentence of imprisonment be imposed, and
        ☐      This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of
               release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or
               pose a danger to any other person or the community if released under § 3142(b) or (c).
☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) pending determination of whether it has
        been clearly shown that there are exceptional circumstances under § 3145(c) why the defendant should not be
        detained under § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is
        not likely to flee or pose a danger to any other person or the community if released under § 3142(b) or (c). This
        matter shall be referred to the United States Magistrate Judge who set the conditions of release.

        SO ORDERED.
        5th day of October, 2021.



                                                  ADA BROWN
                                                  UNITED STATES DISTRICT JUDGE
                                                  NORTHERN DISTRICT OF TEXAS
